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                                                                     Eastern District of Kentlloky
                       UNITED STATES DISTRICT COURT
                                                                            F I LED
                       EASTERN DISTRICT OF KENTUCKY                         DEC 04 2009
                             CENTRAL DIVISION                               AT LEXINGTON
                                LEXINGTON                                 LESLIE G. WHITMER
                                                                      CLERK U.S. DISTRICT COURT
UNITED STATES OF AMERICA


V.                                                INDICTMENT NO. 5:cQ (k                 Igi JrvlH-


BRYAN COFFMAN,
MEGAN COFFMAN,
VADIM TSATSKIN,
    aka VICTOR TSATSKIN, and
GARY MILBY

                                      * * * * *
THE GRAND JURY CHARGES:

                                    COUNTS 1-10
                                    18 U.S.C. § 1341

       1.    From on or about a date in 2004, and continuing through the date of this

Indictment, at Fayette County, Franklin County, and other places in the Eastern District of

Kentucky, and elsewhere,

                                BRYAN COFFMAN,
                                VADIM TSATSKIN,
                            aka VICTOR TSATSKIN, and
                                  GARY MILBY,

and others known and unknown, devised and intended to devise a scheme and artifice to

defraud and to obtain money from persons by false and fraudulent pretenses and

representations, utilizing the following manner and means:
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                                   BACKGROUND
                                 MANNER AND MEANS

       2.     The scheme involved a fraudulent operation of what can be a legitimate

securities investment plan, known generally as an oil or gas well drilling "program".

Legitimate programs involve the use of money from a group of private investors to drill

oil and gas wells. In the typical plan, a General Partner establishes and manages the

program. First, a particular likely geographical location is identified, a lease of the

mineral rights to that location is negotiated, and an estimate of the cost of drilling and

production is calculated. The program is then described in a "Private Placement

Memorandum"(hereafter "PPM"). This informs potential investors of the terms, risks,

and potential profits of the investment. Then shares of the program are sold to individual

investors who are known as "Limited Partners" or "Participants". If the drilling is

successful and a sufficient quantity of oil or gas is located, an operating well is

established. The oil or gas is sold to a local distributor. The Limited Partners divide the

profits according to the agreement set out in the PPM.

       3.     As part of their scheme to defraud, the defendants operated an oil and gas

drilling business through two companies or entities which served as General Partners in a

number of programs. These entities are: Mid-America Energy, Inc. (hereafter Mid-

America) and Global Energy Group (hereafter Global).

       4.     As part of the scheme to defraud, the Defendants solicited and sold units of

programs through Mid-America from 2004 until early 2008. These programs included

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among others: America Oil #1, LLP; Big Creek Oil #1, LLP; Black Gold Oil #1, LLP;

Black Gold Oil #2, LLP; Black Gold Oil #3, LLP; Black Gold Oil #4, LLP; Black Gold

Oil #5, LLP; Black Gold Oil #6, LLP; Black Gold Oil #7, LLP; Black Gold Oil #8, LLP;

Black Gold Oil #9, LLP; Black Gold Oil #10, LLP; Black Gold Oil #10 AUX, LLP;

Black Gold Oil #11, LLP; Eagle Oil #1, LLP; Eagle Oil #5, LLP; Eagle Oil #6, LLP;

Eagle Oil #7, LLP; Eagle Oil #7 AUX, LLP; Eagle Oil #8, LLP; Eagle Oil #9, LLP;

Eagle Oil #9 AUX, LLP; Eagle Oil #10, LLP; Eagle Oil #11, LLP; Fort Knox #3, LLP;

Fort Knox #4, LLP; Fort Knox #8, LLP; Fort Knox #10, LLP; Fort Knox #11, LLP; Fort

Knox #12, LLP; Fort Knox #14, LLP; Fort Knox #15, LLP; Freedom Oil #1, LLP;

Liberty Oil # 1, LLP; Maverick Oil # 1, LLP; Murfreesboro Oil # 1, LLP and others. The

funds obtained from investors under these programs was approximately $19,250,000.

      5.     As part of their scheme to defraud, the defendants solicited and sold units

through Global from mid 2007 to the date of this Indictment. These programs included

among others: New Gold #8, LLP; New Gold #9, LLP; New Gold #10, LLP; New Gold

#11, LLP; New Gold #12, LLP; New Gold #13, LLP; New Gold #14, LLP; New Gold

#15, LLP; New Gold #16, LLP; New Gold #17, LLP; New Gold #18, LLP; New Gold

#20, LLP; New Gold #21, LLP; New Gold #22, LLP and others. The funds obtained

from investors under Global programs was approximately $14,750,000.

                                  Mid-America Phase

      6.     It was part of the scheme to defraud that the defendants and their agents



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made false, material misrepresentations to potential investors in Mid-America programs

including the following, among many others:

      a)     Misrepresentations regarding expectation of production or profit:

             I)     The wells being drilled would last for decades, when in fact wells in

                    that area generally last a few years.

             2)     Successful production of oil was guaranteed, when in fact wells in

                    Kentucky have a significant failure rate.

             3)     Investors could anticipate income from their investment of

                    approximately $1300 to $3300 per month, when in fact wells in the

                    area being drilled typically produced little or no commercial

                    quantities of oil, and no investor saw close to that level of income.

             4)     The investors could expect a return of their investment within a short

                    period of time, when in reality no investor recouped his initial

                    investment.

             5)     The investors faced no risk, when in fact every investor lost money.

             6)     Milby had an extensive track record of successful oil and gas

                    production all over the United States, when in fact he had produced

                    very few successful oil wells.

             7)     Milby had wells in Texas that were currently on secondary recovery,

                    when in fact he had no wells currently operating in Texas at the time

                    that statement was made.

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    b)    Misrepresentation regarding use of investor money:

          1)    All of the investor money would be used for well site acquisition,

                 well completion, drilling, well site testing, selling commissions and

                 other related production expenses, when in fact Milby, Coffman and

                 others planned to take substantial "profits" off the top of investor

                 money.

          2)     Investor money would be placed in individual accounts for each

                 program and that the funds would be segregated from other programs

                 and general expenses and other accounts of the general partner, when

                 in fact investor funds from all programs were co-mingled.

          3)     All investor funds would be spent on oil production related expenses,

                 when in fact, large sums of money were diverted for personal

                 purchases such as vehicles, parties, helicopters, entertainment, and

                 other personal expenses.

          4)     Bryan Coffman was the attorney and CPA for Mid-America, when in

                 fact he handled and distributed investor funds.

    c)    Misrepresentation regarding compliance with state and federal laws and

          regulations:

          1)     The program shares were registered securities, when in fact they

                 were unregistered.


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              2)     Because they were registered securities, the solicitation of investor

                     funds and the oil productions had to be done through separate

                     companies, when in fact no such requirement exists.

              3)     Mid-America was in good standing with the Texas Railroad

                     Commission (TRC), which regulates oil and gas in Texas, when in

                     fact Mid-America was in inactive status with the TRC and had been

                     the subject of administrative penalties.

       7.     It was part of the scheme to defraud that the defendants and their agents

failed to disclose the following material facts to potential investors in Mid-America:

       a)     Omissions regarding the intended use by the defendants of investor funds:

              1)     That Gary Milby, Bryan Coffman, and Megan Coffman would divert

                     substantial sums of investor funds for their personal use.

              2)     That investor funds would be co-mingled with other investor funds.

       b)     Omissions regarding compliance with state and federal laws and

              regulations:

              1)     That they were selling unregistered securities using unlicensed

                     salespersons.

              2)     That Gary Milby and Mid-America had been subject to regulatory

                     actions and cease and desist orders in Kentucky, Texas, Alabama,

                     Arizona, California, Pennsylvania, and other states.


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      c)     Omissions regarding Gary Milby's financial history.

              I)    That Gary Milby had filed for personal bankruptcy in 2003.

                                      Global Phase

      8.     It was part of the scheme to defraud that the defendants and their agents

made false, material misrepresentations to potential investors in Global programs

including the following:

      a)     Misrepresentations regarding expectation of production or profit:

              1)    Investors would recoup their investments within one year, when in

                    fact no investor recouped their investment.

             2)     Wells would produce commercial quantities of oil for 10-20 years,

                    when in fact oil wells in Kentucky historically produce low volumes

                    of commercial production for short periods of time.

             3)     Investors could anticipate income from their investment of

                    approximately $4,000 to $6,000 per month, when in fact wells in the

                     area being drilled typically produced little or no commercial

                    quantities of oil, and no investor saw close to that level of income.

       b)    Misrepresentation regarding use of investor money:

              1)    American Oil and Gas, LLC was an escrow agent of Global Energy

                     Group, when in fact it was the general operating account for the

                    defendants.


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          2)     Investor money would be placed in individual accounts for each

                program and the funds would be segregated from other programs and

                 general expenses and other accounts of the general partner, when in

                 fact investor funds from all programs were co-mingled.

          3)    All investor funds would be spent on oil production related expenses,

                 when in fact, large sums of money were diverted for personal

                 purchases such as boats, real estate, jewelry, personal investment

                 accounts, personal travel, personal trust funds and family travel.

          4)     All of the investor money would be used for well site acquisition,

                 well completion, drilling, well site testing, selling commissions and

                 other related production expenses, when in fact Bryan Coffman,

                 Victor Tsatskin, and others planned to take substantial "profits" off

                 the top of investor money.

    c)    Misrepresentation regarding compliance with state and federal laws and

          regulations:

          I)     Global was a foreign corporation and thereby exempt from

                 registration in the United States, when in fact it they were required to

                 register with state and federal security regulators in the United

                 States.

          2)     Global was owned and operated out of the Bahamas, when in fact it

                 was operated by Bryan Coffman out of Lexington, Kentucky.

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          d)   Misrepresentation regarding ownership and control, structure and location

               of the company:

               I)     The owner and operator of Global was Arthur Chase, when in fact,

                      Arthur Chase was an officer on paper only, and was in the business

                      of setting up off-shore shell companies, and had no day to day

                      control of Global.

               2)     President Arthur Chase had significant oil and gas experience, when

                      in fact, he had no such experience.

               3)     Phone solicitations made to potential investors were made from

                      Lexington, Kentucky, when in fact they were being made from a

                      boiler room in Ontario, Canada.

               4)     The corporate offices for Global were in Lexington, KY, when in

                      fact the address given was a rented, virtual office with a mail drop,

                      physically located adjacent to Bryan Coffman's law office.

          9.   It was part of the scheme to defraud that the defendants and their agents

failed to disclose the following material facts to potential investors in Global among many

others:

          a)   That the defendants had a significant prior history of dry holes.

          b)   That Bryan and Megan Coffman intended to divert investor funds to their

               personal use.


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      c)      That Global was a continuation ofa defunct oil and gas company called

              Mid America Oil and Gas that was then under criminal investigation and in

              civil litigation.

       d)     That Global's sales agents were in Canada instead of Lexington, Kentucky,

              as investors were told.

       e)     That Bryan Coffman and Victor Tsatskin owned and operated Global and

              not Arthur Chase.

       f)     That wells in Kentucky are largely dry holes or wells that have low

              production for a brief period of time.

       g)     That Global did not treat wells to industry standards in order to maximize

              potential production.

       h)     That the "profit" the company was earning came from investor funds, not

              oil production, and that the defendants were raising substantially more

              money than they needed to drill wells.

       10.    For the purpose of executing the scheme to defraud, the defendants, on or

about the respective dates below, placed in the United States mail or with a commercial

interstate carrier at Lexington, Kentucky, and caused to be delivered by United States

mail or by a commercial interstate carrier, according to the directions thereon, mail matter

as described and as addressed below:




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COUNT       DATE      DESCRIPTION                ADDRESS
    1     9-6-07      Global Energy Literature   To: L. McKinlay
                                                 Net Electric Limited
                                                 120 Newkirk Road, Unit 8
                                                 Richmond Hill, ON CA L4C 9S7

                                                 From: Global Energy Group, LTD
                                                 Paragon Centre
                                                 2333 Alexandria Drive
                                                 Lexington, KY 40504
    2      10-10-07   Global Correspondence      To: L. McKinlay
                                                 Net Electric Limited
                                                 120 Newkirk Road, Unit 8
                                                 Richmond Hill, ON CA L4C 9S7

                                                 From: Global Energy Group, LTD
                                                 Paragon Centre
                                                 2333 Alexandria Drive
                                                 Lexington, KY 40504
    3     12-6-07     Global Energy Literature   To: L. McKinlay
                                                 Net Electric Limited
                                                 120 Newkirk Road, Unit 8
                                                 Richmond Hill, ON CA L4C 9S7

                                                 From: Global Energy Group, LTD
                                                 Paragon Centre
                                                 2333 Alexandria Drive
                                                 Lexington, KY 40504
    4      11-16-07   Check # 7093 Payable to:   Mailed to: American Oil and Gas
                      American Oil and Gas       Resources, LLC
                      Resources, LLC in the      2443 Alexandria Drive Suite 140
                      amount 0[$37,500 USD       Lexington, KY 40504

                                                 From: Net Electric Limited
                                                 120 Newkirk Road, Unit 8
                                                 Richmond Hill, ON CA L4C 9S7



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    5     9-6-07     Contract and Check          Mailed to: American Oil and Gas
                     # 667 Payable to:           Resources, LLC
                     American Oil and Gas        2443 Alexandria Drive Suite 140
                     Resources, LLC in the       Lexington, KY 40504
                     amount of $24,500 USD
                                                 From: Ove M. Bakmand
                                                 267 Blue Grass Blvd.
                                                 Richmond Hill, ON CA L4C 3Hl
    6     5-25-07    Contract and Check          Mailed to: American Oil and Gas
                     # 0410 Payable to:          Resources, LLC
                     American Oil and Gas        2443 Alexandria Drive Suite 140
                     Resources, LLC in the       Lexington, KY 40504
                     amount of $12,250 USD
                                                 From: Ove M. Bakmand
                                                 267 Blue Grass Blvd.
                                                 Richmond Hill, ON CA L4C 3Hl
    7     5-8-09     Correspondence to Global    To: Global Energy Group, LTD
                     Energy                      Paragon Centre
                                                 2333 Alexandria Drive
                                                 Lexington, KY 40504

                                                 From: Miles Davison, LLP,
                                                 Ward Mathers
                                                 1600, 205-5th Avenue S.W.
                                                 Calgary, Alberta T2P 2V7
    8     6-10-08    Certificates of Ownership   To: Global Energy Group, LTD
                     for New Gold #16 and        Paragon Centre
                     #21                         2333 Alexandria Drive
                                                 Lexington, KY 40504

                                                 From: Steven Saunders
                                                 612-500 Country Hills Blvd. N.E.
                                                 Calgary AB CA T3K 5K3




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     9         6-2-08     Investor Packet and            To: Global Energy Group, LTD
                          Solicitation                   Paragon Centre
                                                         2333 Alexandria Drive
                                                         Lexington, KY 40504

                                                         From: R. Diamond Group
                                                         13350 Comber Way
                                                         Surrey BC CA V3W 5V9

    10         6-4-08     Invoice for Conference         To: Global Energy Group, LTD
                          Calling                        Attn: Alex Williams
                                                         2333 Alexandria Drive
                                                         Lexington, KY 40504

                                                         From: Infinite Conferencing
                                                         P.O. Box 836
                                                         Short Hills, NJ 07078

Each Count in violation of 18 U.S.C. § 1341.

                                     COUNTS 11 - 19
                                     18 U.S.C. § 1343

         11.   The allegations contained in Paragraphs 1-9 of Counts 1-10 are

incorporated herein by reference.

         12.   On or about the respective dates below,

                                 BRYAN COFFMAN,
                                 VADIM TSATSKIN,
                             aka VICTOR TSATSKIN, and
                                   GARY MILBY,


for the purpose of executing the scheme to defraud, the defendants, did transmit and

cause to be transmitted by means of wire communications in interstate commerce,

writings, signs, signals, pictures and sounds as described below:

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COUNT      DATE      DESCRIPTION                  ADDRESS
   11     4-4-06     Bank Wire Transfer for       From: Marco D. Coleman
                     $49,000 USD for Eagle Oil    105 Monarch Court
                     #7                           St. Augustine, FL 32095

                                                  To: Bryan S. Coffman Escrow,
                                                  Lexington, KY
                                                  Central Bank Acct # XXX6612
   12     4-6-06     Bank Wire Transfer for       From: CALCOL, LLC
                     $49,000 USD for Eagle Oil    813 Southern Creek Road
                                                  Jacksonville, FL 33259

                                                  To: Bryan S. Coffman,
                                                  Attorney at Law, Lexington, KY
                                                  Central Bank Acct #
                                                  XXXX6612
   13     4-11-06    Bank Wire Transfer for       From: Charles Greene
                     $49,000 USD for Eagle Oil    CG Investments LLC
                     #7 AuxLLP                    6932 S. Niagara Ct.
                                                  Centennial, CO 80112

                                                  To: Bryan S. Coffman,
                                                  Attorney at Law, Lexington, KY
                                                  Central Bank Acct #
                                                  XXXX6612
   14     8-30-07    Bank Wire Transfer for       From: Jonathan Victor
                     $12,250 USD for New          Scotiabank
                     Gold #9 Investment
                                                  To: American Oil and Gas
                                                  Resources, Inc.
                                                  Two Paragon Centre Suite 140
                                                  Lexington, KY 40504
                                                  Acct # XXXX7144
                                                  Routing # 042100146
                                                  Central Bank and Trust




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   15      10-9-07    Bank Wire Transfer for      From: DellaIDouglas Aire
                      $12,250 USD for New         HSBC Bank Canada
                      Gold #9 Investment
                                                  To: American Oil and Gas
                                                  Resources, Inc.
                                                  Lexington, KY
                                                  Acct # XXXX7144
                                                  Routing # 042100146
                                                  Central Bank and Trust
   16      11-23-07   Bank Wire Transfer for      From: Jarvis Kosowan
                      $49,000 USD for New         Globex Foreign Exchange
                      Gold #11 Investment
                                                  To: America Oil and Gas
                                                  Resources, Inc.
                                                  Lexington, KY
                                                  Acct # XXXX7144
                                                  Routing # 042100146
                                                  Central Bank and Trust
   17     2-29-08     Bank Wire Transfer for      From: Don Blishen
                      $48,912.80 USD for New      Calgary, Alberta Canada
                      Gold # 16 Investment        Acct # XXXX-XXX8571

                                                  To: America Oil and Gas
                                                  Resources, Inc.
                                                  Lexington, KY
                                                  Acct # XXXX7144
                                                  Routing # 042100146
                                                  Central Bank and Trust
   18     2-7-08      Bank Wire Transfer for      From: Douglas VanHooren
                      $49,000 USD for New         Bank of Montreal
                      Gold # 16 Investment        Acct # XXX2039

                                                  To: America Oil and Gas
                                                  Resources, Inc.
                                                  Lexington, KY
                                                  Acct # XXXX7144
                                                  Routing # 042100146
                                                  Central Bank and Trust

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    19         4-1-08      Bank Wire Transfer for         From: John Sparkes
                           $25,000 USD for New            Calgary, Alberta Canada
                           Gold # 17 Investment           CIBC Acct # XXXXXX­
                                                          XX8232

                                                          To: America Oil and Gas
                                                          Resources, Inc.
                                                          Lexington, KY
                                                          Acct # XXXX7144
                                                          Routing # 042100146

Each Count in violation of 18 U.S.C. § 1343.

                                        COUNT 20
                                    18 U.S.C. § 1956(h)

         13.   From in or about a date in 2005, the exact date unknown to the

Grand Jury, and continuing until the date of this Indictment, at Fayette County, in the

Eastern District of Kentucky, and other places known and unknown to the Grand Jury,

                                 BRYAN COFFMAN and
                                  MEGAN COFFMAN

defendants herein, did knowingly combine, conspire, and agree together, and with other

persons both known and unknown to the Grand Jury, to commit offenses against the

United States in violation of 18 U.S.C. §§ 1956 and 1957, to wit:

         (a) to knowingly conduct and attempt to conduct a financial transaction affecting

interstate and foreign commerce, which involved the proceeds of a specified unlawful

activity, that is mail fraud and wire fraud, in violation of 18 U.S.C. §§ 1341 and 1343, as

more specifically described in Counts 1-19 above, with the intent to promote the carrying



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on of said specified unlawful activity, and that while conducting and attempting to

conduct such financial transaction knew that the property involved in the financial

transaction represented the proceeds of some form of unlawful activity in violation of 18

U.S.C. § 1956(a)(l)(A)(i); and

       (b) to knowingly conduct and attempt to conduct a financial transaction affecting

interstate and foreign commerce, which involved the proceeds of a specified unlawful

activity, that is mail fraud and wire fraud, in violation of 18 U.S.C. §§ 1341 and 1343, as

more specifically described in Counts 1-19 above, knowing that the transactions were

designed in whole or in part to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, and that while

conducting and attempting to conduct such financial transactions, knew that the property

involved in the financial transactions represented the proceeds of some form of unlawful

activity, in violation of 18 U.S.C. § 1956(a)(l )(B)(I); and

       (c) to transport, transmit and transfer and attempt to transport, transmit and

transfer a monetary instrument and funds from a place in the United States to and through

a place outside the United States with the intent to promote the carrying on of specified

unlawful activity, that is, mail fraud in violation of 18 U.S.C. §§ 1341 and 1343, as more

specifically described in Counts 1-19 above, in violation of 18 U.S.C. § 1956(a)(2)(A)(i);

and

       (d) to transport, transmit, and transfer, and attempt to transport, transmit, and

transfer a monetary instrument or funds involving the proceeds of specified unlawful

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activity, that is, mail fraud in violation of 18 U.S.C. §§ 1341 and 1343, as more

specifically described in Counts 1-19 above, from a place in the United States to or

through a place outside the United States, knowing that the funds involved in the

transportation, transmission, and transfer represented the proceeds of some form of

unlawful activity and knowing that such transportation, transmission, and transfer was

designed in whole or in part to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, in violation of 18

U.S.C. § 1956(a)(2)(B)(i); and

       (e) to knowingly engage and attempt to engage, in monetary transactions by,

through or to a financial institution, affecting interstate and foreign commerce, in

criminally derived property of a value greater that $10,000, such property having been

derived from a specified unlawful activity, that is, mail fraud and wire fraud, in violation

of 18 U.S.C. §§ 1341 and 1343, as more specifically described above, in violation of 18

U.S.C. § 1957.

       All in violation of 18 U.S.C. § 1956(h).

                                        COUNT 21
                                 18 U.S.C. § 1956(a)(I)(B)(I)

       14.    On or about February 4, 2008, in the Eastern District of Kentucky and

elsewhere,

                                  BRYAN COFFMAN and
                                   MEGAN COFFMAN

did knowingly conduct and attempt to conduct a financial transaction affecting interstate

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and foreign commerce, to wit, the transfer of approximately 1.4 million dollars from a

Raymond James Financial Services Account #XXXX9062 in the name of Bryan Coffman

and Megan Coffman, to Raymond James Financial Services Account #XXXX2262 in the

name of Megan Coffman, which involved the proceeds of specified unlawful activity, that

is, mail fraud and wire fraud in violation of 18 U.S.c. §§ 1341 and 1343, as more

specifically described in Counts 1-19 above, knowing that the transaction was designed in

whole or part to conceal and disguise the nature, location, source, ownership, and control

of the proceeds of said specified unlawful activity and that while conducting and.

attempting to conduct such financial transaction knew that the property involved in the

financial transaction represented the proceeds of some form of unlawful activity.

       All in violation of 18 U.S.C. § 1956(a)(1)(B)(i).

                                    COUNTS 22-25
                               18 U.S.C. § 1956(a)(I)(B)(i)

       15.    On or about the dates set forth below, in the Eastern District of Kentucky

and elsewhere,

                                BRYAN COFFMAN and
                                 MEGAN COFFMAN

did knowingly conduct and attempt to conduct the following financial transactions

affecting interstate and foreign commerce, which involved the proceeds of specified

unlawful activity, that is, mail fraud in violation of 18 U.S.C. §§ 1341 and 1343, as more

specifically described in Counts 1-19 above, and knowing that the transaction was


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designed in whole or part to conceal and disguise the nature, location, source, ownership,

and control of the proceeds of said specified unlawful activity and that while conducting

and attempting to conduct such financial transaction knew that the property involved in

the financial transaction represented the proceeds of some form of unlawful activity:

 COUNT       DATE          AMOUNT           TRANSACTION
 22          7/22/08       $150,000         Wire transfer from Megan Coffman, PNC
                                            Account ending 1528 to Holland & Knight, LLC
 23          8/1/08        $460,000         Check from American Oil and Gas, Wachovia
                                            Account ending 2871 deposited to Megan
                                            Coffman Dacorta, American Founders Account
                                            ending 9802
 24          8/6/08        $450,000         Wire transfer from Megan Coffman Dacorta,
                                            American Founders Account ending 9802 to
                                            Holland & Knight LLC
 25          8/6/08        $310,000         Wire transfer from Megan Coffman, PNC
                                            Account ending 1528 to Holland & Knight LLC

       All in violation of 18 U.S.C. § 1956(a)(1)(B)(i).

                                      COUNTS 26-30
                      18 U.S.C. §§ 1956(a)(I)(A)(i) and 1956(a)(I)(B)(i)

       16.    On or about the dates set forth below, in the Eastern District of Kentucky

and elsewhere,

                                  BRYAN COFFMAN and
                                   MEGAN COFFMAN

did knowingly conduct and attempt to conduct the following described financial

transactions affecting interstate and foreign commerce, which involved the proceeds of



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specified unlawful activity, that is, mail fraud in violation of 18 U.S.C. §§ 1341 and 1343,

as more specifically described in Counts 1-19 above, with the intent to promote the

carrying on of said specified unlawful activity and knowing that the transaction was

designed in whole or part to conceal and disguise the nature, location, source, ownership,

and control of the proceeds of said specified unlawful activity and that while conducting

and attempting to conduct such financial transaction knew that the property involved in

the financial transaction represented the proceeds of some form of unlawful activity:

 COUNT      DATE          AMOUNT           TRANSACTION
 26         2/6/08        $200,000         Transfer of funds from American Oil & Gas,
                                           Central Bank Account ending 8382 to Bryan
                                           Coffman, Central Bank Account ending 6604

 27         2/21/08       $160,000         Check from Bryan Coffman, Central Bank
                                           Account ending 6604 to Megan Coffman
                                           deposited in Megan Coffman, American
                                           Founders Bank Account ending 3826
 28         2/21/08       $140,000         Debit transfer from Megan Coffman,
                                           American Founders Bank Account ending
                                           3826 deposited to Dacorta, American
                                           Founders Bank Account ending 9802
 29         2/25/08       $151,000         Wire transfer from Dacorta, American
                                           Founders Bank Account ending 9802 to the
                                           Jensen Law Firm, LLC, Charleston, South
                                           Carolina
 30         2/25/08       $4,000           Wire transfer from Dacorta, American
                                           Founders Bank Account ending 9802 to the
                                           Jensen Law Firm, LLC, Charleston, South
                                           Carolina

       Each Count in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and 1956(a)(1)(B)(I).


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                            FORFEITURE ALLEGATION
                              18 U.S.C. § 981(a)(l)(C)
                                28 U.S.C. § 2461(c)
                               18 U.S.C. § 982(a)(I)

       17.    In committing the felony offenses alleged in Counts 1 through 19 of this

Indictment, each punishable by imprisonment for more than one year,

                                    GARY MILBY,
                                BRYAN COFFMAN and
                                  VADIM TSATSKIN,
                                aka VICTOR TSATSKIN

shall forfeit to the United States pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.c. §

2461 (c), any property, real or personal, which constitutes or is derived from proceeds

traceable to the commission of the scheme to defraud of which the defendants are

convicted, including but not limited to the following:



MONEY JUDGMENT:

       Approximately $34,000,000 (Thirty-Four Million Dollars), representing the
       approximate amount of proceeds derived from the scheme to defraud and money
       laundering and for which the defendants are jointly and severally liable.

FINANCIAL INSTITUTION ACCOUNTS:

       (1)    Raymond James Financial Services Account # XXXX2262 in the name of
              Megan Coffman in the approximate amount of$1,475,799.73 and all
              interest accruing thereon;

       (2)    American Founders Bank Account # XXX9802 in the name of Megan
              Coffman DBA DACORTA, LLC in the approximate amount of$40,046.51;

       (3)    American Founders Bank Account # XXX3826 in the name of Megan
              Coffman in the approximate amount of$5,593.16;

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     (4)    PNC Bank Account # XXXXXX6953 in the name ofDACORTA, LLC in
            the approximate amount of $465,573.87;

     (5)    Wachovia Account # XXXXXXXXX2871 in the name of American Oil
            and Gas in the approximate amount of$275,253.00;

     (6)    Wachovia Account # XXXXXXXXX4179 in the name of Bryan Coffman
            in the amount of$115,951.76;

     (7)    Traditional Bank Money Market Account # XX3555 in the amount of
            $174,157.73;

     (8)    Traditional Bank CDARS Account #XXXXXX7314 in the amount of
            $100,000.00, plus all interest accrued thereon to the time of maturity;

     (9)    Traditional Bank CDARS Account #XXXXXX7349 in the amount of
            $100,000.00, plus all interest accrued thereon to the time of maturity;

     (10)   Traditional Bank CDARS Account #XXXXXX7373 in the amount of
            $100,000.00, plus all interest accrued thereon to the time of maturity;

     (11)   Traditional Bank CDARS Account #XXXXXX7381 in the amount of
            $100,000.00, plus all interest accrued thereon to the time of maturity;
     (12)   Traditional Bank CDARS Account #XXXXXX7403 in the amount of
            $100,000.00, plus all interest accrued thereon to the time of maturity;

     (13)   Traditional Bank CDARS Account #XXXXXX7438 in the amount of
            $100,000.00, plus all interest accrued thereon to the time of maturity.

CONVEYANCES:

     2003 Solar Azimut yacht, Hull id. # XAX74077G203.

REAL PROPERTY:

     (1)    Real property and residence located at 4816 Chaffey Lane, Lexington,
            Fayette County, Kentucky, in the name of Megan Coffman;

     (2)    Real property and residence located at 2032 Egret Crest Lane, Charleston,
            Charleston County, South Carolina, in the name of Corrie Anderson.

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SUBSTITUTE ASSETS:

       If any of the property listed above, as a result of any act or omission of the

defendants,

       (1) cannot be located upon the exercise of due diligence

       (2) has been transferred or sold to, or deposited with, a third party;

       (3) has been placed beyond the jurisdiction of the Court;

       (4) has been substantially diminished in value; or

       (5) has been commingled with other property which cannot be divided without

       difficulty;

it is the intent of the United States to seek the forfeiture of any other property in which the

above defendants have an interest in, up to the value of the currency described above and

pursuant to 21 U.S.C. § 853(p), as incorporated in 28 U.S.C. § 246l(c). These properties

include, but are not limited to, the following real property:

       (1) 4249 Steamboat Road, Lexington, Fayette County, Kentucky;

       (2) 2556 Ashbrooke Drive, Lexington, Fayette County, Kentucky;

       (3) 4752 Firebrook Blvd, Lexington, Fayette County, Kentucky;

       (4) 3085 Arrowhead Drive, Lexington, Fayette County, Kentucky;

       (5) 3200 Mammoth Drive, Lexington, Fayette County, Kentucky;

       (6) 3873 Forest Green Drive, Lexington, Fayette County, Kentucky;

       (7) 3152 High Ridge Drive, Lexington, Fayette County, Kentucky;


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       (8) 4200 Steamboat Road, Lexington, Fayette County, Kentucky;and

       (9) 63 acres of land located in Green County, PYA Map #77-27-.02.04, transferred

       from Arimor Irrevocable Trust to Paul D. Milby.

       18.    In committing the felony offenses alleged in Counts 20 through 30 ofthis

Indictment, each punishable by imprisonment for more than one year,

                                 BRYAN COFFMAN and
                                  MEGAN COFFMAN

shall forfeit to the United States pursuant to 18 U.S.C. § 982(a)(1), any property, real or

personal, which constitutes or is derived from proceeds traceable to the commission of the

offense, including but not limited to the specific property (financial institution accounts,

real property) as referenced above. Additionally, defendants shall forfeit a sum of money

(money judgment) equal to the total amount of money involved in each offense for which

the defendants are convicted. If more than one defendant is convicted of an offense, the

defendants so convicted are jointly and severally liable for the amount involved in such

offense. The substitute asset provision as outlined earlier in this forfeiture allegation also

applies to this money judgment.

                                                   A TRUE BILL



                                                   FOREPERSON          r




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"

                                       PENALTIES

    COUNTS 1-19:     Not more than 20 years imprisonment, not more than $250,000 fine,
                     and not more than 3 years supervised release.

    COUNT 20-30:     Not more than 20 years imprisonment, not more than $500,000 fine
                     or twice the value of the property involved in the transaction,
                     whichever is greater.

    PLUS:            Criminal Forfeiture of listed assets.

    PLUS:            Mandatory special assessment of $100 per felony count.

    PLUS:            Restitution if applicable.




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